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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLOR]])A
TALLAHASSEE DIVISION

DEMOCRATIC ExEcUTIvE
CoMMITTEE 01= FLORIDA and BILL
NELsoN FoR U.s. sENATl~i,

Plaintiffs,
v.

KENNETH W. DETZNER, in his official
capacity as the Florida Secretary of State,

Case No.: 4:18-cv-00520-RH-MJF

Defendant.

 

 

DECLARATION OF PATRICK MURPHY IN SUPPORT OF

PLAIN'I`IFFS’ EMERGENCY MOTION FOR TEMPORARY

INJUNCTION, TEMPORARY RESTRAINING ORDER, AND
PRELIMINARY INJUNCTION

Pursuant to 28 U.S.C. § 1746, I, Patrick Murphy, declare as follows:

l. I arn at least 18 years of age and have personal knowledge of the below
facts, which are true and accurate to the best of my knowledge.

2. l am a former United States Congressman.

3. I am a resident of, and registered voter in, Palm Beach County, Florida. I
have been a registered voter in Florida for around 15 years.

4. For the November 6, 2018 election, l voted by sending my vote by mail
ballot to the Palm Beach County Supervisor of Elections. My vote by mail ballot

envelope contained my signature

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5. My vote by mail ballot was received on November 6. See Exhibit A. Despite
containing my signature, it was rejected for “Invalid Signature,” which I learned by
checking my ballot status online. Id.

6. I was surprised that my vote by mail ballot was rejected, because I
previously cast a vote by mail ballot in the 2018 primary election in Florida, using
my same signature, and my primary vote was counted.

7 . Because my vote by mail ballot was received on November 6, I did not have
an opportunity to cure the purported signature mismatch, and my vote was not
counted.

8. It is important to me that my vote cast count in the November 6, 2018

election.

I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.

 

DATED: Il'/lt, /l? B
l Patrick Murphy

